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 8                                    UNITED STATES DISTRICT COURT

 9                                 NORTHERN DISTRICT OF CALIFORNIA

10
     ADRIAN HOLLEY, et al.,                           Case No. 4:18-cv-06972-JST
11

12                   Plaintiffs,
                                                      [PROPOSED] ORDER RE: DISMISSAL
13           vs.                                      OF CLAIMS OF PLAINTIFFS LISTED
                                                      ON APPENDIX A TO THIS ORDER
14   GILEAD SCIENCES, INC.,                           [FAILURE TO PROVIDE
                                                      SUBSTANTIALLY COMPLETE
15                   Defendant.                       PLAINTIFF FACT SHEETS]
16   This documents relates to:                       [Filed concurrently with Defendant Gilead
17                                                    Sciences, Inc.’s Notice of Motion and Sixth
     Calkins, et al. v. Gilead Sciences, Inc.,
     4:20-cv-01884-JST;                               Motion To Dismiss Pro Se Plaintiffs’ Claims
18                                                    for Failure to Provide Substantially Complete
     Clark, A., et al. v. Gilead Sciences, Inc.,      Plaintiff Fact Sheets; Declaration of Eva M.
19   4:21-cv-00713-JST;                               Weiler in Support of Motion]
20   Cox, J., et al. v. Gilead Sciences, Inc.,        Re: ECF No. 1658
     4:21-cv-06807-JST;
21
     Davillier, et al. v. Gilead Sciences, Inc.,
22   4:20-cv-00570-JST;
23   Dowdy, et al. v. Gilead Sciences, Inc.,
     4:19-cv-00481-JST;
24
     Falls, et al. v. Gilead Sciences, Inc.,
25   4:21-cv-05387-JST;
26   Gavaldon, A., et al. v. Gilead Sciences, Inc.,
     4:21-cv-00112-JST;
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     [PROPOSED] ORDER RE: DISMISSAL OF CLAIMS OF PLAINTIFFS LISTED ON APPENDIX A TO THIS ORDER
              [FAILURE TO PROVIDE SUBSTANTIALLY COMPLETE PLAINTIFF FACT SHEETS] –
                                    CASE NO. 4:18-CV-06972-JST
          Case 4:18-cv-06972-JST Document 1668 Filed 10/10/24 Page 2 of 7



 1   Goldfinger, et al. v. Gilead Sciences, Inc.,
     4:20-cv-04043-JST;
 2
     Harlan, et al. v. Gilead Sciences, Inc.,
 3   4:22-cv-03156-JST;
 4   Holley, et al. v. Gilead Sciences, Inc.,
     4:18-cv-06972-JST;
 5
     Hooper, et al. v. Gilead Sciences, Inc.,
 6   4:21-cv-04283-JST;
 7   Jaime, et al. v. Gilead Sciences, Inc.,
     4:21-cv-05112-JST;
 8
     Johnson, C., et al. v. Gilead Sciences, Inc.,
 9   4:21-cv-01931-JST;
10   Kachelmyer, et al., v. Gilead Sciences, Inc.,
     4:21-cv-00328-JST;
11
     Keefe, et al., v. Gilead Sciences, Inc.,
12   4:22-cv-01370-JST;
13   Kelly, A., et al. v. Gilead Sciences, Inc.,
     4:22-cv-00688-JST;
14
     Leon, et al. v. Gilead Sciences, Inc.,
15   4:20-cv-03744-JST;
16   Lewis, et al. v. Gilead Sciences, Inc.,
     4:21-cv-03218-JST;
17
     Lyons, et al. v. Gilead Sciences, Inc.,
18   4:19-cv-02538-JST;
19   Miller, C., et al. v. Gilead Sciences, Inc.,
     4:21-cv-06947-JST;
20
     Mosely, et al. v. Gilead Sciences, Inc.,
21   4:19-cv-05816-JST;
22   Natividad, et al. v. Gilead Sciences, Inc.,
     4:21-cv-01282-JST;
23
     Ortley, et al. v. Gilead Sciences, Inc.,
24   4:21-cv-09576-JST;
25   Pennington, et al., v. Gilead Sciences, Inc.,
     4:20-cv-03489-JST;
26
     Rivers, et al. v. Gilead Sciences, Inc.,
27   4:19-cv-07991-JST;
28                                              2
     [PROPOSED] ORDER RE: DISMISSAL OF CLAIMS OF PLAINTIFFS LISTED ON APPENDIX A TO THIS ORDER
              [FAILURE TO PROVIDE SUBSTANTIALLY COMPLETE PLAINTIFF FACT SHEETS] –
                                    CASE NO. 4:18-CV-06972-JST
         Case 4:18-cv-06972-JST Document 1668 Filed 10/10/24 Page 3 of 7



1    Seale, et al. v. Gilead Sciences, Inc.,
     4:22-cv-01032-JST;
2
     Tharpe, et al. v. Gilead Sciences, Inc.,
3    4:20-cv-06033-JST;

4    Walsh, Barbara, et al. v Gilead Sciences, Inc.,
     4:21-cv-06184-JST; and
5
     Young, A., et al. v. Gilead Sciences, Inc.,
6    4:21-cv-10006-JST.
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     [PROPOSED] ORDER RE: DISMISSAL OF CLAIMS OF PLAINTIFFS LISTED ON APPENDIX A TO THIS ORDER
              [FAILURE TO PROVIDE SUBSTANTIALLY COMPLETE PLAINTIFF FACT SHEETS] –
                                    CASE NO. 4:18-CV-06972-JST
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 1                                     [PROPOSED] ORDER
                                                             lack of papers
 2          The Court has considered the papers in support of and in opposition to Defendant Gilead

 3   Sciences, Inc.’s (“Gilead’s”) motion to dismiss the claims of Plaintiffs listed in the Appendix A to

 4   this Order (“Plaintiffs”) for failure to provide a substantially complete Plaintiff Fact Sheet (“PFS”)

 5   as required by the provisions of the Court’s Case Management Order on Plaintiff Fact Sheets and

 6   Document Productions (ECF No. 83) and the Court’s Amended Scheduling Order (ECF No. 278)

 7   (“Motion”).

 8          GOOD CAUSE APPEARING, including Gilead notifying Plaintiffs of their failure to

 9   provide a substantially complete PFS, service of the Motion, and Plaintiffs’ continued failure to

10   submit substantially complete PFSs,

11          IT IS HEREBY ORDERED that Gilead’s Motion is GRANTED;

12          IT IS FURTHER ORDERED that the above-captioned actions are dismissed without

13   prejudice, under Federal Rules of Civil Procedure 37(b)(2)(A)(v) and 41(b), as to Plaintiffs listed in

14   Appendix A to this Order only.

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16          IT IS SO ORDERED.
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19             October 10, 2024
     Dated: ___________________
20                                                               Honorable Jon S. Tigar
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     [PROPOSED] ORDER RE: DISMISSAL OF CLAIMS OF PLAINTIFFS LISTED ON APPENDIX A TO THIS ORDER
              [FAILURE TO PROVIDE SUBSTANTIALLY COMPLETE PLAINTIFF FACT SHEETS] –
                                    CASE NO. 4:18-CV-06972-JST
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                    Appendix A
         Case 4:18-cv-06972-JST Document 1668 Filed 10/10/24 Page 6 of 7
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LMI ID    Plaintiff Name          Case Name                                     Case Number
529101    Robertson, Darlene      Lyons et al. v. Gilead Sciences, Inc.         4:19-cv-02538-JST
529125    Weary, Levoice          Lyons et al. v. Gilead Sciences, Inc.         4:19-cv-02538-JST
529163    Blair, Stanley          Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529218    Deramus, Onyx           Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529273    Hansen, Ruth            Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529348    McCart, Patsy           Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529366    Morris, Leonard         Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529425    Sanders, Jarrod         Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529459    Thomas, Time            Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529470    Villarreal, Eduardo     Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529472    Wagner, Dean            Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529496    Willis, Alex            Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
529501    Yates, Janet            Mosely et al. v. Gilead Sciences, Inc.        4:19-cv-05816-JST
530265    Killingworth, LaTanya   Dowdy et al. v. Gilead Sciences, Inc.         4:19-cv-00481-JST
530352    McQuay, Kevin           Holley et al. v. Gilead Sciences, Inc.        4:18-cv-06972-JST
530398    Thomas, Bettie          Holley et al. v. Gilead Sciences, Inc.        4:18-cv-06972-JST
530399    Thomas, Grace           Holley et al. v. Gilead Sciences, Inc.        4:18-cv-06972-JST
530404    Villareal, Juan         Holley et al. v. Gilead Sciences, Inc.        4:18-cv-06972-JST
530413    Williams, Victor        Holley et al. v. Gilead Sciences, Inc.        4:18-cv-06972-JST
533501    O'Conner Powell, Kent   Rivers et al. v. Gilead Sciences, Inc.        4:19-cv-07991-JST
533505    Stewart, Shannia        Rivers et al. v. Gilead Sciences, Inc.        4:19-cv-07991-JST
534146    Edwards, Steven         Davillier et al. v. Gilead Sciences, Inc.     4:20-cv-00570-JST
534149    Brown, Theond           Davillier et al. v. Gilead Sciences, Inc.     4:20-cv-00570-JST
632879    Schmidt, Keith          Calkins et al. v. Gilead Sciences, Inc.       4:20-cv-01884-JST
658113    Sullivan, Shaun         Pennington et al. v. Gilead Sciences, Inc.    4:20-cv-03489-JST
673306    Franklin, Bert          Leon et al. v. Gilead Sciences, Inc.          4:20-cv-03744-JST
673537    Baldwin, Theresa        Leon et al. v. Gilead Sciences, Inc.          4:20-cv-03744-JST
675514    Gilliam, Betty          Leon et al. v. Gilead Sciences, Inc.          4:20-cv-03744-JST
676224    Clark, Toney            Leon et al. v. Gilead Sciences, Inc.          4:20-cv-03744-JST
685904    Anderson, James         Goldfinger et al. v. Gilead Sciences, Inc.    4:20-cv-04043-JST
685921    Broomes, Kai            Goldfinger et al. v. Gilead Sciences, Inc.    4:20-cv-04043-JST
685929    Carter, Charles         Goldfinger et al. v. Gilead Sciences, Inc.    4:20-cv-04043-JST
686000    King, Bryan             Goldfinger et al. v. Gilead Sciences, Inc.    4:20-cv-04043-JST
686034    Oliver, David           Goldfinger et al. v. Gilead Sciences, Inc.    4:20-cv-04043-JST
686045    Pratt, Michael          Goldfinger et al. v. Gilead Sciences, Inc.    4:20-cv-04043-JST
686075    Tresch, George          Goldfinger et al. v. Gilead Sciences, Inc.    4:20-cv-04043-JST
835524    Borden, Glenn           Tharpe et al v. Gilead Sciences, Inc.         4:20-cv-06033-JST
835575    Toole, Timothy          Tharpe et al v. Gilead Sciences, Inc.         4:20-cv-06033-JST
903499    Leahy, Shirley          Gavaldon, A et al v. Gilead Sciences, Inc.    4:21-cv-00112-JST
914472    Davis, Joyce            Kachelmyer, et al v. Gilead Sciences, Inc.    4:21-cv-00328-JST
942213    Askew, Yvonne           Clark, A et al v. Gilead Sciences, Inc.       4:21-cv-00713-JST
942261    Walker, James           Clark, A et al v. Gilead Sciences, Inc.       4:21-cv-00713-JST
942262    Walker, Stephen         Clark, A et al v. Gilead Sciences, Inc.       4:21-cv-00713-JST
954382    Upshaw, Gregory         Natividad, et al v. Gilead Sciences, Inc.     4:21-cv-01282-JST
960419    Kates, Preston          Johnson, C. et al. v. Gilead Sciences, Inc.   4:21-cv-01931-JST
990020    Berry, Stephanie        Lewis, et al v. Gilead Sciences, Inc.         4:21-cv-03218-JST
          Case 4:18-cv-06972-JST Document 1668 Filed 10/10/24 Page 7 of 7
                                                          Page 2 of 2

990026     Combs, Robert            Lewis, et al v. Gilead Sciences, Inc.          4:21-cv-03218-JST
1006266    Cox, Jacqueline          Cox, J. et al v. Gilead Sciences, Inc.         4:21-cv-06807-JST
1007565    Covington, Rita          Miller, C. et al. v. Gilead Sciences, Inc      4:21-cv-06947-JST
1008348    Allen, Ryan              Hooper et al. v. Gilead Sciences, Inc.         4:21-cv-04283-JST
1008368    Hooper, Aaron            Hooper et al. v. Gilead Sciences, Inc.         4:21-cv-04283-JST
1016236    Norman, Dwight           Jaime, et al. v. Gilead Sciences, Inc.         4:21-cv-05112-JST
1016262    Jacobs, John             Jaime, et al. v. Gilead Sciences, Inc.         4:21-cv-05112-JST
1016279    Fouse, Rhonda            Jaime, et al. v. Gilead Sciences, Inc.         4:21-cv-05112-JST
1020866    Vallillo, John           Falls, et al. v. Gilead Sciences, Inc.         4:21-cv-05387-JST
1020902    Essex, Raymond           Falls, et al. v. Gilead Sciences, Inc.         4:21-cv-05387-JST
1020909    Campfield, Corey         Falls, et al. v. Gilead Sciences, Inc.         4:21-cv-05387-JST
1068915    Gabriele, Roberto        Walsh, Barbara, et al v Gilead Science, Inc.   4:21-cv-06184-JST
1087981    Harris-Gigger, Candice   Young, A., et al. v. Gilead Sciences, Inc.     4:21-cv-10006-JST
1088093    Germany, Gregory         Ortley et al. v. Gilead Sciences, Inc.         4:21-cv-09576-JST
1100418    Simmons, Phillip         Seale et al. v. Gilead Sciences, Inc.          4:22-cv-01032-JST
1106197    Gallaway, Melinda        Kelly, A., et al. v. Gilead Sciences, Inc.     4:22-cv-00688-JST
1106426    Nelson, John             Kelly, A., et al. v. Gilead Sciences, Inc.     4:22-cv-00688-JST
1106451    Muldrow, Tyrone          Kelly, A., et al. v. Gilead Sciences, Inc.     4:22-cv-00688-JST
1122942    Burleson, Mark           Keefe, et al. v. Gilead Sciences, Inc.         4:22-cv-01370-JST
1122966    Robinson, Joseph         Keefe, et al. v. Gilead Sciences, Inc.         4:22-cv-01370-JST
1122973    Prather, Harvey          Keefe, et al. v. Gilead Sciences, Inc.         4:22-cv-01370-JST
1126979    Janics, Richard          Harlan, et al. v. Gilead Sciences, Inc.        4:22-cv-03156-JST
